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January 8, 2025

Via CM/ECF

Hon. Mary Kay Vyskocil
U.S. District Court, Southern District of New York

         Re:              Robles v. Capri Holdings 2 LLC, 1:24-cv-07658-MKV

Dear Judge Vyskocil:

        I represent Capri Holdings 2 LLC (“Defendant”) in the above-captioned matter. Pursuant
to Section 4(A)(i) of Your Honor’s Individual Rules of Practice in Civil Cases, this letter serves
as my client’s request for a pre-motion conference for the purpose of filing:

   i.          a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) (lack of subject-matter
               jurisdiction) and any other applicable provisions; and

   ii.         a motion to stay discovery until the motion to dismiss is decided on the grounds that
               the motion to dismiss is highly likely to be granted.

   I.          FACTUAL AND PROCEDURAL SYNOPSIS

The Parties

        The Defendant is a New York Limited Liability Company which operates in Yonkers, New
York under the name “Budr Cannabis.” The Yonkers store opened on October 15, 2024. Separate
legal entities—who are not named defendants in the instant matter—also operate retail cannabis
establishments in Connecticut under the d/b/a Budr Cannabis. The Defendant here has no
ownership of these entities or the Connecticut stores.

      The Plaintiff, Primitivo Robles (“Plaintiff”), is, according to the Class Action Complaint
& Demand for Jury Trial (“Complaint”), a visually impaired and legally blind person. The
Complaint alleges that the Plaintiff was denied use of the www.budrcannabis.com (“Website”) in
Bronx County, New York. Compl. ¶ 12.

The Purported Case

       The Plaintiff commenced the instant action in October, 2024 alleging that he encountered
“accessibility barriers that prevented him from fully utilizing [the] services” of the Website when
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he allegedly accessed the Website on October 5, 2024. Compl. ¶¶ 27, 28. The Plaintiff asserts
that the Website is a “Public Accommodation” within Title III of the Americans with Disabilities
Act (“ADA”). 42 U.S.C.A. § 12182; Compl. ¶ 14. The Plaintiff seeks declaratory and injunctive
relief as well as compensatory damages. Compl. ¶¶ 41, 70. However, as our intended motion to
dismiss will show, the Court lacks subject-matter jurisdiction to hear this case. The Plaintiff lacks
standing as he sustained no injury under the ADA and his claims are moot.

    II.     GROUNDS FOR THE INTENDED MOTION TO DISMISS

    A. The Court Lacks Subject-Matter Jurisdiction Because Plaintiff Was Not Injured
       Under the ADA.

     The Court lacks subject-matter jurisdiction in this matter because the Plaintiff does not have
Article III standing. Specifically, the Plaintiff sustained no injury under the ADA. To sufficiently
plead an injury-in-fact under the ADA, a plaintiff must establish: (1) past injury under the ADA;
(2) that it is reasonable to infer the alleged discriminatory treatment will continue; and (3) that it
is reasonable to infer, based on the past frequency of plaintiff’s visits and proximity of the public
accommodation to his or her home, that the plaintiff intends to return to the public accommodation
in the future. Camarillo v. Carrols Corp., 518 F.3d 153, 158 (2d Cir. 2008).

    Here, the Plaintiff sustained no “past injury.” Id. The Plaintiff alleges that he accessed the
Website on October 5 and 6, 2024. Compl. ¶¶ 27, 34. However, the Yonkers’ store grand opening
was on October 15, 2024, meaning the Plaintiff accessed the Website and alleges a corresponding
injury before the Defendant’s store was open to the public. Compl. ¶¶ 2, 27. The Budr Cannabis
Yonkers store did not have “operations” which “affect[ed] commerce” as required by the definition
of “Public Accommodation” on the date the Plaintiff accessed the Website. § 12182. As a result,
the Website was also not a place of “Public Accommodation” in New York at the time of Plaintiff’s
access. Id.1 The Plaintiff was not precluded from ordering goods on the Website because there
was no store from which to order. Accordingly, the Plaintiff did not suffer injury under the ADA.

    Courts will grant a defendant’s motion to dismiss an ADA claim for want of standing where
the plaintiff was not injured under the ADA. See, e.g., Calcano v. Swarovski N. Am. Ltd., 36
F.4th 68, 76 (2d Cir. 2022) (affirming lower court’s dismissal of an ADA case because the
plaintiff lacked injury in fact); Dominguez v. Grand Lux Cafe LLC, No. 19-CV-10345 (MKV),

1
  Any argument that Plaintiff was injured by alleged barriers to the Website in relation to Budr
Cannabis stores in Connecticut fails as well. Federally, cannabis is still a Schedule I Controlled
Substance under the Controlled Substances Act. 21 U.S.C.A. § 812. Transportation of cannabis
across state lines remains illegal. Id.; U.S. CONST. art. I, § 8, cl. 3; see also Conn. Gen. Stat. §
21a-421bb(7) (prohibiting cannabis cultivators from “advertis[ing] in any way that encourages the
transportation of cannabis across state lines or otherwise encourages illegal activity”). Plaintiff’s
claim in paragraph twenty-six (26) of the Complaint that “specific strains of marijuana . . . [are]
100% legal and can be shipped anywhere in the United States” is demonstrably false. Compl. ¶
26.
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2020 WL 3440788, at *4 (S.D.N.Y. June 22, 2020) (dismissing the case for lack of injury in
fact). The case of Harty v. West Point Realty, Inc. is especially on point. In Harty, the Second
Circuit affirmed the lower court’s dismissal of the case for lack of standing. 28 F.4th 435, 445
(2d Cir. 2022). The plaintiff in Harty brought an ADA case against West Point Realty Inc.
alleging that the defendant’s website for its Holiday Inn Express hotel was not ADA compliant
and therefore infringed his right to travel free from discrimination. Id. at 440, 443. The Court
stated that the plaintiff did not allege in his complaint that he was “using the website to arrange
for future travel.” Id. at 443. Similarly, here, the Plaintiff has failed to sufficiently allege that he
was using the Website to buy goods. The Complaint itself states that the Plaintiff accessed the
website on October 5 and 6, 2024, while the Yonkers store opened on October 15, 2024. Compl.
¶¶ 2, 27, 34. The Defendant intends to make similar arguments as to the Plaintiff’s claims under
the New York State and New York City statutes.2

    B. Plaintiff Lacks Standing as His Claims Are Moot.

    Plaintiff also lacks Article III standing because his claims are moot. The Website has been
brought into full ADA-compliance and will remain so. Courts will dismiss a plaintiff’s website
ADA-accessibility complaint on mootness grounds when a defendant demonstrates that “[1]
there is no reasonable expectation that the alleged violation will recur and [2] interim relief or
events have completely and irrevocably eradicated the effects of the alleged violation.” Tavarez
v. Extract Labs, Inc., No. 21-CV-9916 (JPO), 2023 WL 2712537, at *2 (S.D.N.Y. Mar. 30,
2023) (quoting Clear Channel Outdoor, Inc. v. City of New York, 594 F.3d 94, 110 (2d Cir.
2010)) (dismissing the case as moot because the website was made ADA-compliant); see also
Guglielmo v. Nebraska Furniture Mart, Inc., No. 19 CIV. 11197 (KPF), 2020 WL 7480619, at
*6 (S.D.N.Y. Dec. 18, 2020) (same). Defendant will submit affidavit(s) to accompany the
motion to dismiss explaining how the Website was brought into ADA compliance and the
additional steps taken to ensure it will remain compliant. The Defendant intends to make similar
arguments as to the Plaintiff’s state claims.

    III.     GROUNDS FOR THE INTENDED MOTION TO STAY DISCOVERY

    In view of the strong grounds for the planned motion to dismiss, my client will also move for
a stay of discovery during the pendency of its motion to dismiss. See, e.g., Sharma v. Open Door
NY Home Care Servs., Inc., 345 F.R.D. 565, 568 (E.D.N.Y. 2024) (courts consider the strength
of a pending motion when deciding whether to stay discovery).

   For the reasons set forth above, the Defendant respectfully requests a pre-motion conference.
This motion is not on consent of all parties.

                                                      Best regards,
                                                      Steven J. Stafstrom, Jr.

2
 If the ADA claim is dismissed, this Court lacks jurisdiction over the state law claims as there would be no remaining
federal question and the parties are not of diverse citizenship.
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed electronically and served by mail
on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this failing
through the Court’s CM/ECF System.


                                                        /s/ Steven J. Stafstrom, Jr.____________
                                                        Steven J. Stafstrom, Jr.




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